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                       IN THE UNITED STATES DISTRICT COURT                                              -RtCE1VED
                          FOR THE DISTRICT OF MARYLAND                                      I,UG        Ii 2016
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UNITED STATES OF AMERICA                          *                                                               DEPUTY
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v.                                                *           Crim. No. PJM 00-0424
                                                  *
                                                  *
ROBERT HENRY DAVIS                                *
                                                  *
       Petitioner                                 *
                                                  *
                                  MEMORANDUM OPINION


       Robert Henry Davis has tiled a Motion to Reduce Sentence pursuant to 18 U.S.c.               9

3582(c), relying on Amendment 782 to the U.S. Sentencing Guidelines. ECF No. 691. Although

Davis asserts that there are "extraordinary and compelling reasons" to reduce his sentence, the

Court finds he is in fact ineligible for a reduction pursuant to Amendment 782 because he was

sentenced to a statutory mandatory minimum sentence oflife imprisonment. Accordingly, the

Court will DENY his Motion.


                                                  I.


       On June 28, 2001 ajury found Davis guilty of conspiracy to distribute and possession

with intent to distribute a cocaine and cocaine base, in violation of 21 U.S.C. 9 846, and

possession with intent to distribute a cocaine and cocaine base. in violation of21 U.S.C. 9 841.

At sentencing, the Court adopted the factual findings and advisory guideline applications in the

Presentence Report (PSR), which established that Davis's criminal activity involved over 150

kilograms of cocaine, resulting in a base offense level at 38. Davis's final offense level was 4 I.



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with a criminal history category of IV. The guidelines range for imprisonment was therefore 360

months to life.

          The Government sought enhanced penalties under 21 U.S.c.      S 851 based on Davis's
prior convictions. Davis was therefore subject to a statutory mandatory minimum of life

imprisonment, pursuant to 21 U.S.C. SS 841(b)(I)(A) and 851. On September 26, 2001, the

Court sentenced Davis to life in prison. Since then, Davis has tiled several motions attacking the

judgment pursuant to various Rules of Criminal and Civil Procedure, all of which the Court has

denied.

          On February 13,2015, Davis filed the present Motion, seeking a reduction in his sentence

pursuant to Amendment 782. ECF No. 691. On September 9, 2015, the Government filed its

opposition to the Motion. ECF No. 701. Davis has tiled no reply.


                                                 II.


          Under 18 U.S.C. S 3582(c), "a defendant who has been sentenced to a term of

imprisonment based on a sentencing range that has subsequently been lowered by the Sentencing

Commission" may file a motion asking the Court to reduce his sentence. The Court may reduce

the defendant's term of imprisonment "after considering the factors set forth in section 3553(a)

to the extent that they are applicable, if such a reduction is consistent with applicable policy

statements issued by the Sentencing Commission." 18 U.S.c.       S 3582(c)(2).
          Amendment 782, effective November 1,2014, reduced by two levels the base offense

level in the Advisory Guidelines under S 201.1 for certain drug offenses. Amendment 782,

however, did not have the effect of reducing a defendant's sentence below a statutory mandatory

minimum, unless the court originally had the authority to sentence the defendant below the

mandatory minimum based on his substantial assistance to authorities. See U.S.S.G. SIB 1.1O(a),

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(c); see also id., Application Note I(A) ("[A] reduction in the defendant's term of imprisonment

is not authorized under 18 U.S.c. 3582(c)(2) and is not consistent with this policy statement if ...

the amendment does not have the effect oflowering the defendant's applicable guideline range

because of the operation of another guideline or statutory provision (e.g., a statutory mandatory

minimum term ofimprisonment).")          (emphasis added).

          As the Government notes, Davis was subject to a statutory mandatory minimum sentence

under 21 U.S.c. ~~ 841 (b)(l )(A) and 851 at the time of his sentencing. He did not receive any

downward departure from his Advisory Guidelines range based on substantial assistance to

authorities. Absent such departure for substantial assistance, Davis is not eligible to receive a

sentence below the statutory mandatory minimum. See U.S.S.G. ~ IB 1.11O(a)(2), (c). He is thus

                                                                                     1
not eligible for any reduction to his life sentence under Amendment 782.




                                                              III.

          For the above reasons, Davis's Motion to Reduce Sentence under 18 U.S.c.                 * 3582(c),
ECF No. 691, is DENIED.




1 Davis  has also filed a Motion under Federal Rule of Criminal Procedure 36 to correct certain infonnation in his
Presentence Report (PSR), which, if granted, would effectively lower his criminal history score for Guidelines
purposes. See Pet.'s Mot. Correct Presentence Report, ECT No. 693. The Court will rule separately on that Motion.
For purposes of the present Motion to Reduce Sentence, suffice it to say that correcting the PSR in the way Davis
requests would not affect this Motion. Davis was sentenced to a mandatory minimum of life imprisonment because
of two prior felony drug convictions pursuant to 21 U.S.C. SS 841 (b)( I )(A) and 851. "Unlike the sentencing
guidelines ... [S 841(b)] does not impose any time limitation on the felonies triggering the enhanced sentencing
provision." Uniled Siaies v. Hudaeek,24 F.3d 143, 146 (11th Cir. 1994) (holding 20-year-old drug conviction
triggered mandatory minimum statute); see also Mosely v. Uniled Slales, No. 03-0194,20 II WL 1230888, at '4 (D.
Md. Mar. 29, 20 II) ("The plain language of21 U.s.c. S 841 (b)( I)(A) does not include any time limit on the usc of
prior convictions in imposing an enhanced sentence for a felony drug offense." (citing HI/daeek, 24 F.3d at 146)).
Any error in calculating Davis's Guidelines range therefore would have no effect on his mandatory minimum
sentence.

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      A separate Order will ISSUE.




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                                                    P. TER J. MESSITTE
                                                    STATES DISTRICT JUDGE


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